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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                             CRIMINAL FILE NO.
           v.                                1:08-CR-189-1-TWT
 MARK GREEN,
   Defendant.


                                        ORDER


         This is a pro se Motion to Vacate Sentence [Doc. 424] . It is before the Court

on the Report and Recommendation [Doc.               432] of the Magistrate Judge

recommending dismissing the motion for failure to comply with a lawful Order of the

Court.      The Court approves and adopts the Report and Recommendation as the

judgment of the Court. The Motion to Vacate Sentence [Doc. 424] is DENIED.

         SO ORDERED, this 26 day of July, 2011.



                                   /s/Thomas W. Thrash
                                   THOMAS W. THRASH, JR.
                                   United States District Judge
